                         EXHIBIT A




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Date: 5/15/2025        9:26:41AM                                                              Cumberland County Circuit Court                                                                            Page 1 of 1
User: mbm                                                                                          Rule Docket Report

Rule Entry Date           Case Number          Case Style                                                   Page Number         Rule Entry                                            Associated Party
03/11/2025 12:44PM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Civil Case Created
                                               TEMU
03/11/2025 12:49PM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Civil Summons Issued on 3/11/2025
                                               TEMU                                                                             Jieqiong Cao, Whaleco, Inc. d/b/a TEMU
                                                                                                                                Attorney to Serve
03/11/2025 12:49PM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Filing Entered: Damage And Torts - Filed For Justin
                                               TEMU                                                                             Cooper - Filed Against Jieqiong Cao, Whaleco, Inc.
                                                                                                                                d/b/a TEMU
03/24/2025 10:26AM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Return of Non Service - Filed
                                               TEMU                                                                             Jieqiong Cao
                                                                                                                                by Attorney

                                                                                                                                Alias Civil Summons Issued 3/24/2025
                                                                                                                                Jieqiong Cao
                                                                                                                                Attorney to Serve

                                                                                                                                Plaintiff's 1st Amended Complaint - Filed
04/17/2025 03:25PM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Hearing Entered: Docket Call scheduled for Justin
                                               TEMU                                                                             Cooper, Jieqiong Cao, Whaleco, Inc. d/b/a TEMU
                                                                                                                                on 8/7/2025 10:00 AM; William T Ridley
04/28/2025 03:38PM        18CC1-2025-CV-7278   Justin Cooper vs Jieqiong Cao, Whaleco, Inc. d/b/a                               Civil Summons Returned Served - Filed
                                               TEMU                                                                             Whaleco, Inc., d/b/a Temu 4/23/2025
                                                                                                                                by Attorney through Certified Mail


Sworn to before me the 15th May, 2025.



                                                                                        , Clerk



                                                                                        , D.C.




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